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James Garretson (00:01):
Hello?

Agent Matt Bryant (00:02):
Hey, Dude, are you having a stressful day?

James Garretson (00:04):
No, not really. What's going on?

Agent Matt Bryant (00:08):
Man, we've got to have you up here Saturday. We are wide open and booked up Sunday. You may
testify Wednesday now.

James Garretson (00:18):
Okay.

Agent Matt Bryant (00:19):
Saturday is going to be the only day, and we've got to have you do trial prep. I don't care what time of
day. Ideally, late in the evening is not good, but if that's when it is, that's when we can do it. Morning,
whenever, if you can make anything work, we've got to try to have you up here Saturday.

James Garretson (00:40):
All right. Let me try to move something. Let me just try to figure something out.

Agent Matt Bryant (00:48):
And, you'll want this to happen, Dude. You'll want to get freshened up, because there's no other chance
before Wednesday, and we've got to get you freshened up and ready.

James Garretson (00:56):
Okay. All right, what's the latest, if I did afternoon, do you think?

Agent Matt Bryant (01:07):
2 or 3 would be ideal, because it's going to take two or three hours.

James Garretson (01:12):
Okay. All right, let me call Brittney real quick, and I'll call you back.

Agent Matt Bryant (01:15):
All right, brother, I'm sorry.

James Garretson (01:16):
All right. I'll call you right back.



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